76 F.3d 389
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.UNITED STATES of America, Plaintiff-Appellee,v.Lup Hung JUNG, Defendant-Appellant.
    No. 94-50450.
    United States Court of Appeals, Ninth Circuit.
    Submitted Dec. 6, 1995.*Decided Dec. 11, 1995.
    
      Before:  SNEED, TROTT, and HAWKINS, Circuit Judges.
    
    
      1
      MEMORANDUM**
    
    
      2
      Lup Hung Jung appeals his conviction and 60-month sentence imposed following the entry of his guilty plea to possession with intent to distribute approximately 697 grams of heroin in violation of 21 U.S.C. § 841(a)(1).
    
    
      3
      Pursuant to Anders v. California, 386 U.S. 738 (1967), Jung's counsel submitted a brief stating the she finds no meritorious issues for review.   Counsel also filed a motion to withdraw as counsel of record.   Our independent review of the record pursuant to Penson v. Ohio, 488 U.S. 75, 83 (1988), discloses no issues for review.   Accordingly, the motion of counsel to withdraw is GRANTED and the judgment is AFFIRMED.1
    
    
      
        *
         The panel unanimously finds this case suitable for decision without oral argument.   Fed.R.App.P. 34(a);  9th Cir.R. 34-4
      
      
        **
         This disposition is not appropriate for publication and may not be cited to or by the courts of this circuit except as provided by 9th Cir.R. 36-3
      
      
        1
         Jung's motion for the appointment of new counsel is denied
      
    
    